Case 2:14-cv-06311-MWF-PLA Document 5-1 Filed 05/13/14 Page 1 of 37 Page ID #:14




                              EXHIBIT A
             Case 2:14-cv-06311-MWF-PLA Document 5-1 Filed 05/13/14 Page 2 of 37 Page ID #:15


                                                                                                                                                             SUM-100
                                                 SUMMONS                                                                         FOR COURT USE ONLY
                                                                                                                             (SOLO PARA USO DE LA CORTE)
                                        (CITACION JUDICIAL)
      NOTICE TO DEFENDANT:
      (AVISO AL DEMANDADO):
       MONSTER BEVERAGE CORPORATION, a Delaware corporation,
       Additional Parties Attachment form is attached.
     YOU ARE BEING SUED BY PLAINTIFF:
     (LO ESTA DEMANDANDO EL DEMANDANTE):
      OSIE MARSHALL, YASNA CUEVAS, JOI-IN VAN ES, on behalf of
      themselves and others similarly situated,
        NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
        below.
          You have 30 CALENDAR DAYS after this summons and legal papers are served on you to flle a written response at this court and have a copy
        served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
        case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
        Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
       the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
       may be taken without further warning from the court.
           There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
       referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
       these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomia.org), the California Courts Online Self-Help Center
       (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
      costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
      {A VI SO! Lo han demandado. Sino responde dentro de 30 dias, Ia corte puede decidir en su contra sin escuchar su version. Lea Ia informacion a
     continuacion.
        Tiene 30 OiAS DE CALENDAR/0 despues de que le entreguen esta citaci6n y papeles legales para presenter una respuesta por escrito en esta
     corte y hacer que se entregue una copia at demandante. Una carta o una /lam ada telefonica no to protegen. Su respuesta par escrito tiene que estar
     en formato legal correcto si desea que procesen su caso en Ia corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
     Puede encontrar estos formu/arios de Ia corte y mas informacion en e/ Centro de Ayuda de /as Cortes de California (www.sucorte.ca.gov), en Ia
    biblioteca de /eyes de su condado o en Ia corte que le quede mas cerca. Sf no puede pagar Ia cuota de presentacion, pida a/ secretario de Ia corte
    que le de un formula rio de exenci6n de pago de cuotas. Sino presenta su respuesta a tiempo, puede perder el caso par incumplimiento y Ia corte /e
    padre quitar su sue/do, dinero y bienes sin mas advertencia.
      Hay otros requisitos legales. Es recomendab/e que !lame a un abogado inmediatamente. Sino conoce a un abogado, puede /lamar a un servicio de
    remision a abog ados. Sino puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
    program a de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de Iuera en el sitio web de California Legal Services,
    (www.lawhelpcalifornia.org), en el Centro de Ayuda de /as Cortes de California, (www.sucorte.ca.gov) o poniendose en contacto con Ia corte o el
    colegio de abogados locales. AVISO: Por ley, Ia corte tiene derecho a recta mar /as cuotas y los costas exentos por imponer un gravamen sabre
    cualquier recuperaci6n de $10,000 o mas de valor recibida mediante un acuerdo o una concesi6n de arbitraje en un caso de derecho civil. Tiene que
    pagar e/ gravamen de Ia corte antes de que Ia corte pueda desechar e/ caso.

   The name and address of the court is:
   (EI nombre y direcci6n de Ia corte es):        San Francisco Superior Court
    400 McAllister Street
    San Francisco, CA 94102-4515
   The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
   (EI nombre, Ia direcci6n y el numero de telefono del abogado del demandante, o del demandante que no tiene abogado, es):
   Anthony J. Orshansky, Counse!One, 9301 Wilshire Blvd., Suite 650, Beverly Hills, CA 90210, 310-277-9945
             /l   p . - . ClERK nr: n.u: r.nr IRT
                   Ra4 2014
.:...DATE:                                                                         Clerk, by                                                   ctepptOeputy
   (Fechaj9                                                            (Secretario)                                           \)@Ofc1h w              (Adjunto)
  (For proof of service of this summons, use Proof of Service of Summons (form POS-01 0).)
  (Para prueba de entrega de esta citati6n use el formulario Proof of Service of Summons, (POS-010)).
                                    NOTICE TO THE PERSON SERVED: You are served
    jSEALI
                                    1.       0
                                            as an individual defendant.
                                   2.        c::::J
                                            as the person sued under the fictitious narne of (specify):


                                        3.   D        on behalf of (specify):

                                             under:    D      CCP 416.10 (corporation)                         D       CCP 416.60 (minor)
                                                       D      CCP 416.20 (defunct corporation)                 D       CCP 416.70 (conservatee)
                                                       D      CCP 416.40 (association or partnership)          D       CCP 416.90 (authorized person)
                                                       D      other (specify):
                                        4.   D        by personal delivery on (date):
                                                                                                                                                              Pa e 1 of1
  Form Adopted for Mandatory Use
    Judicial Council of CaJ1forn1a
                                                                          SUMMONS                                                  Code of Civil Procedure§§ 412.20. 465
                                                                                                                                                     www.courtinfo.ca.gov
   SUM-100 [Rev. July 1, 2009)

                                                                                                                                                       Exhibit A, Page 2
          Case 2:14-cv-06311-MWF-PLA Document 5-1 Filed 05/13/14 Page 3 of 37 Page ID #:16



                                                                                                                                 SUM-200(A)
                                                                                                     CASE NUMBER:
         SHORT TITLE:
    t-   Marshall, et al. v. Monster Beverage Corporation, et a!.

                                                                 INSTRUCTIONS FOR USE
       _. This form may be used as an attachment to any summons if space does not permit the listing of all parties on the summons.
       -~ If this attachment is used, insert the following statement in the plaintiff or defendant box on the summons: "Additional Parties
          Attachment form is attached."

       List additional parties (Check only one box. Use a separate page for each type of party.):

         D        Plaintiff         [2]   Defendant     D   Cross-Complainant   D    Cross-Defendant

       dba HANSEN BEVERAGE COMPANY, and DOES 1 through 50, inclusive,




                                                                                                                     Page           of
                                                                                                                                         Page 1 of1
 Form Adopted for Mandatory Use
   Judicia! Council of Califomia                      ADDITIONAL PARTIES ATTACHMENT
SUM-200(A) {Rev. January 1. 2007}                           Attachment to Summons


                                                                                                                                  Exhibit A, Page 3
             Case 2:14-cv-06311-MWF-PLA Document 5-1 Filed 05/13/14 Page 4 of 37 Page ID #:17

                                                                                                                                                                                CM-010
        ATTOilNEY OR PARTY WITHOUT ATTORNEY (Name,
         Anthony J. Orshansky (Cal. Bar No. 199364)
                                                          State Bar number. and address):
                                                                                                                                        EN~ DONLY
         Counse!One, P.C.                                                                                                               r:: \ L E.superfor court
         9301 Wilshire Boulevard Suite 650                                                                                              r    countY
                                                                                                                            san FrancisCO
         Beverly Hills, California 90210
             TELEPHONENO.          (310)277-9945                           FAXNO;     (424)277-3727                                      ~pQ, {'\ 4 20\4
        ATTORNEY FOR (Name).'      Plaintiffs
      SUPERIOR COURT OF CALIFORNIA, COUNTY OF        San FrancisCO                                                                     ·.              THECOUR1
               sTREET ADDREss
              MAILING ADDRESS:
                                   400 McAllister Street                                                                        cu:.RKa~~\-\ sTEPPE Cieri<
                                                                                                                             IS'{:      OEv                      oeputY
             ciTY AND ZIP coDE     San Francisco 94102
                  BRANCH NAME:
        CASE NAME:
        MARSHALL, et al. v. MONSTER BEVERAGE CORPORATION, eta!.
             CIVIL CASE COVER SHEET                                           Complex Case Designation                                         - 14 -                                        7
      [{] Unlimited                  D      Limited                      D                            0
          (Amount                           (Amount                            Counter             Joinder                  JUDGE:
          demanded                          demanded is                 Filed with first appearance by defendant
          exceeds $25,000)                  $25,000 or less)                (Cal. Rules of Court, rule 3.402)                 DEPT:
                                                Items 1-6 below must be completed (see instructions on page 2).
      1. Check one box below for the case type that best describes this case:
         Auto Tort                                                   Contract                                       Provisionally Complex Civil litigation
         D        Auto (22)                                         D         Breach of contracUwarranty (06)       (Cal. Rules of Court, rules 3.400-3.403)
         D        Uninsured motorist (46)                           D         Rule 3.740 collections (09)           D     AntitrusUTrade regulation (03)
        Other PIIPDIWD (Personal Injury/Property                    D        Other collections (09)                 D     Construction defect (10)
        Damage/Wrongful Death) Tort                                 D        Insurance coverage (18)                D     Mass tort (40)
        D        Asbestos (04)
                                                                    D      Other contract (37)                      D      Securities litigation (28)
        D        Product liability (24)                              Real Property                                  D     Environmental/Toxic tort (30)
        D        Medical malpractice (45)
                                                                    D      Eminent domain/Inverse                   D     Insurance coverage claims arising from the
        D        Other PIIPD!WD (23)                                       condemnation (14)                              above listed provisionally complex case
        Non-PIIPDIWD (Other) Tort                                   0        Wrongful eviction (33)                       types (41)

       W         Business tort/unfair business practice (07)        D        Other real property (26)               Enforcement of Judgment
       D         Civil rights (08)                                  Unlawful Detainer                               D     Enforcement of judgment (20)
       D         Defamation (13)                                    D        Commercial (31)                        Miscellaneous Civil Complaint
       D         Fraud (16)                                         D        Residential (32)                       D     RIC0(27)
       D         Intellectual property (19)                         D        Drugs (38)                             D     Other complaint (not specified above) (42)
       D         Professional negligence (25)                       Judicial Review                                 Miscellaneous Civil Petition
       D         Other non-PI/PD/WD tort (35)                      D        Asset forfeiture (05)                   D     Partnership and corporate governance (21)
        Employment                                                 D        Petition re: arbitration award (11)
                                                                                                                   0      Other petition (not specified above) (43)
       D         Wrongful termination (36)                         D        Writ of mandate (02)
       D         Other employment (15)                             D        Other judicial review (39)
 2. This case           U
                       is   lLJ is not complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
    factors requiring exceptional judicial management:
        a. D        Large number of separately represented parties                           d.   D   Large number of witnesses
        bO          Extensive motion practice raising difficult or novel                     e.   D   Coordination with related actions pending in one or more courts
                    issues that will be time-consuming to resolve                                     in other counties, states, or countries, or in a federal court
        c.   D      Substantial amount of documentary evidence                               f.   D   Substantial postjudgment judicial supervision
 3.    Remedies sought (check all that apply): a.[l] monetary                               b. [LJ nonmonetary; declaratory or injunctive relief                 c.   [ZJ punitive
 4.    Number of causes of action (specify): 7
 5. This case          W
                      is               D
                                 is not a class action suit.
 6. If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
Date: April 1, 2014
Anthony J. Orshansky
                                   (TYPE OR PRINT NAME)                                                                                                     R PARTY)
                                                                                        NOTICE
  • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
    under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
    in sanctions.
  • File this cover sheet in addition to any cover sheet required by local court rule.
  • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
    other parties to the action or proceeding.
  • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes onlv.
                                                                                                                                                                             I"age 1 of 2
Form Adopted for Mandatory Use                                                                                               CaL Rules of Court, rules 2.30, 3.220, 3.40()--3.403, 3. 740;
  Judicial Council of California
                                                                  CIVIL CASE COVER SHEET                                            Cal. Standards of Judicial Administration, std. 3.10
   CM-010 IRev. July 1, 2007]                                                                                                                                      www.courtinlo.ca.gov
                                                                                                                                                                       Exhibit A, Page 4
          Case 2:14-cv-06311-MWF-PLA Document 5-1 Filed 05/13/14 Page 5 of 37 Page ID #:18


                                                                                                                                              CM-010
                                            INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
     To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
     complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
     statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
     one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
    check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
    To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
    sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
    its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
    To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
   owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
   which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
   damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
   attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
   time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
   case will be subject to the requirements for service and obtaining a judgment in rule 3. 740.
   To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
   case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
   completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
   complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
   plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
   the case is complex.                                      CASE TYPES AND EXAMPLES
   Auto Tort                                        Contract                                          Provisionally Complex Civil Litigation (Cal.
       Auto (22)-Personallnjury/Property               Breach of Contract/Warranty (06)               Rules of Court Rules 3.400-3.403)
           Damage/Wrongful Death                           Breach of Rental/Lease                          Antitrust/Trade Regulation (03)
       Uninsured Motorist (46) (if the                         Contract (not unlawful detainer             Construction Defect (1 0)
             case involves an uninsured                              or wrongful eviction)                 Claims Involving Mass Tort (40)
             motorist claim subject to                     Contract/Warranty Breach-Seller                 Securities Litigation (28)
             arbitration. check this item                       Plaintiff (not fraud or negligence)        Environmental/Toxic Tort (30)
             instead of Auto)                               Negligent Breach of Contract/                  Insurance Coverage Claims
  Other PI/PD/WD (Personal Injury/                              Warranty                                        (arising from provisionally complex
  Property Damage/Wrongful Death)                          Other Breach of Contract/Warranty                    case type listed above) (41)
  Tort                                                 Collections (e.g., money owed. open              Enforcement of Judgment
       Asbestos (04)                                       book accounts) (09)                             Enforcement of Judgment (20)
            Asbestos Property Damage                       Collection Case-Seller Plaintiff                    Abstract of Judgment (Out of
                                                           Other Promissory Note/Collections                       County)
            Asbestos Personal Injury/
                 Wrongful Death                                 Case                                           Confession of Judgment (non-
       Product Liability (not asbestos or              Insurance Coverage (not provisionally                        domestic relations)
            toxic/environmental) (24)                      complex) (18)                                       Sister State Judgment
       Medical Malpractice (45)                            Auto Subrogation                                    Administrative Agency Award
            Medical Malpractice-                           Other Coverage                                          (not unpaid taxes)
                 Physicians & Surgeons                 Other Contract (37)                                     Petition/Certification of Entry of
           Other Professional Health Care                  Contractual Fraud                                       Judgment on Unpaid Taxes
                 Malpractice                               Other Contract Dispute                              Other Enforcement of Judgment
                                                   Real Property                                                    Case
      Other PI/PD/WD (23)
           Premises Liability (e.g., slip             Eminent Domain/Inverse                           Miscellaneous Civil Complaint
                 and fall)                                 Condemnation (14)                              RICO (27)
           Intentional Bodily lnjury/PDIWD            Wrongful Eviction (33)                              Other Complaint (not specified
                                                                                                               above) (42)
                 (e.g .. assault. vandalism)          Other Real Property (e.g., quiet title) (26)
           Intentional Infliction of                                                                           Declaratory Relief Only
                                                           Writ of Possession of Real Property                 Injunctive Relief Only (non-
                 Emotional Distress                        Mortgage Foreclosure                                    harassment)
           Negligent Infliction of                        Quiet Title
                 Emotional Distress                                                                            Mechanics Lien
                                                          Other Real Property (not eminent                     Other Commercial Complaint
           Other PI/PD/WD                                  domain, landlord/tenant, or
                                                                                                                   Case (non-tort/non-complex)
 Non-PI/PD/WD (Other) Tort                                 foreclosure)
                                                                                                               Other Civil Complaint
      Business Tort/Unfair Business                Unlawful Detainer                                               (non-tort/non-complex)
         Practice (07)                                Commercial (31)
                                                                                                       Miscellaneous Civil Petition
     Civil Rights (e.g., discrimination.              Residential (32)                                    Partnership and Corporate
         false arrest) (not civil                     Drugs (38) (if the case involves illegal                 Governance (21)
          harassment) (08)                                 drugs, check this item; otherwise,             Other Petition (not specified
     Defamation (e.g., slander, libel)                     report as Commercial or Residential)                above) (43)
           (13)                                    Judicial Review                                             Civil Harassment
     Fraud (16)                                        Asset Forfeiture (05)                                  Workplace Violence
     Intellectual Property (19)                        Petition Re: Arbitration Award (11)                    Elder/Dependent Adult
    Professional Negligence (25)                      Writ of Mandate (02)                                          Abuse
         Legal Malpractice                                  Writ-Administrative Mandamus                      Election Contest
         Other Professional Malpractice                     Writ-Mandamus on Limited Court                    Petition for Name Change
               (not medical or legal)                          Case Matter                                    Petition for Relief From Late
   Other Non-PIIPD/WD Tort (35)                            Writ-Other Limited Court Case                            Claim
Employment                                                     Review                                         Other Civil Petition
   Wrongful Termination (36)                          Other Judicial Review (39)
   Other Employment (15)                                   Review of Health Officer Order
                                                           Notice of Appeal-Labor
                                                               Commissioner A eals
CM-010 !Rev July 1. 20071                                                                                                                     Page 2 of 2
                                                      CIVIL CASE COVER SHEET
                                                                                                                                        Exhibit A, Page 5
Case 2:14-cv-06311-MWF-PLA Document 5-1 Filed 05/13/14 Page 6 of 37 Page ID #:19




 1 ANTHONY J. ORSHANSKY, Cal. Bar No. 199364
   anthony@counselonegroup.com                                            ENDORSED
 2 COUNSELONE, P.C.                                                       F I LED
                                                                 San Franciscc> County Superior Court.
   9301 Wilshire Boulevard, Suite 650
 3 Beverly Hills, California 90210                                       f DR   n 4 2014
   Telephone: (31 0) 277-9945
 4 Facsimile: (424) 277-3727
                                                                  CLERK OF THE COURT
      Attorneys for Plaintiffs
                                                                ev:    PEBORAH STEPPE
  5                                                                                    Deputy Clerk
      OSIE MARSHALL, YASNA CUEVAS, JOHN VANES,
 6    on behalf of themselves and others similarly situated

 7
  8                     SUPERIOR COURT OF THE STATE OF CALIFORNIA

 9                                  COUNTY OF SAN FRANCISCO
10
11                                                          CGC-14-53844 7
      OSIE MARSHALL, YASNA CUEVAS,               Case No.
12    JOHN VANES, on behalf of themselves and
      others similarly situated,
                                                 CLASS ACTION COMPLAINT FOR:
13
                          Plaintiffs,                (1) Unlawful Business Practices (Cal.
14                                                       Bus. & Prof. Code § 17200 et seq.)
                   v.
 15                                                  (2) Unfair Business Practices (Cal. Bus.
      MONSTER BEVERAGE CORPORATION,                      & Prof. Code § 17200 et seq.)
16    a Delaware corporation, dba HANSEN
      BEVERAGE COMPANY, and DOES 1                   (3) Fraudulent Business Practices (Cal.
17    through 50, inclusive,
                                                         Bus. & Prof. Code § 17200 et seq.)

18                        Defendants.                (4) Misleading Advertising (Cal. Bus. &
                                                         Prof. Code§ 17500 et seq.)
19
                                                     (5) Untrue Advertising (Cal. Bus. & Prof.
20                                                       Code§ 17500 et seq.)

21                                                   (6) Violation of the Consumer Legal
                                                         Remedies Act, Cal. Civ. Code §§ 1750
22                                                       et seq.

23                                                   (7) Restitution Based on Quasi-Contract
                                                         I Unjust Enrichment
24
25                                                DEMAND FOR JURY TRIAL

26
27
28

                                                                                           Exhibit A, Page 6
                                        CLASS ACTION COMPLAINT
Case 2:14-cv-06311-MWF-PLA Document 5-1 Filed 05/13/14 Page 7 of 37 Page ID #:20



                       Plaintiffs OSIE MARSHALL, YASNA CUEVAS, JOHN VAN ES (hereinafter

      2 "Plaintiffs"), on behalf of themselves and all others similarly situated, complain of MONSTER

      3 BEVERAGE CORPORATION, a Delaware corporation, dba HANSEN BEVERAGE

      4 COMPANY, and DOES I through 50, inclusive, as follows:

      5                                              INTRODUCTION

      6               I.    Plaintiffs bring this action pursuant to Code of Civil Procedure § 382 against

      7 Defendants Monster Beverage Corporation dba Hansen Beverage Company ("Hansen"), and Does

     8      1 through 50, inclusive (collectively with Hansen, "Defendants"), on behalf of all consumers in

     9 the United States within four years of the filing of this lawsuit who within the last four years have

 10 purchased any of the "Misbranded Products," which include all Hansen's Juices or Juice Box

 11        products, all Hansen's Smoothie Nectar products, all Hubert's Lemonade products, all Aguas

 12 Frescas products, all Hansen's Natural Fruit and Tea Stix products, all Vidration products, all

 13        Hansen's sodas, all Blue Sky sodas, Energy Pro, Diet Red, and all Blue Energy products (energy,

 14 juice, coffee). The labels for each of these products carry representations about the ingredients or

 15 alleged healthful properties of the products that are intended to induce, and have induced,

 16 consumers to purchase the products. These representations, however, are false, misleading, and

 17 unlawful for the reasons alleged below.

 18               2.       Plaintiffs allege that Defendants' conduct violates California's Business and

19 Professions Code sections 17200, et seq. (the Unfair Competition Law, or "UCL"), California's

20 Business and Professions Code sections 17500, et seq. (the False Advertising Law, or "FAL"), and

21        the Consumers Legal Remedies Act ofthe California Civil Code sections 1750, et seq. (the

22        "CLRA"). Plaintiffs also allege that Defendants' conduct is grounds for restitution on the basis of

23        quasi-contract/unjust enrichment.

24               3.        Plaintiffs seek damages and restitution stemming from Defendants' false labeling

25        and advertising. Plaintiffs also seek declaratory and injunctive relief to ensure that Defendants

26 remove any and all false or misleading labels and advertisements relating to the Misbranded

27        Products and to prevent them from making similar representations in the future.

28 Ill


                                            CLASS ACTION COMPLAINT                                 Exhibit A, Page 7
Case 2:14-cv-06311-MWF-PLA Document 5-1 Filed 05/13/14 Page 8 of 37 Page ID #:21



                                                       PARTIES

      2            4.     Hansen has its headquarters in Corona, California, and upon information and belief

     3 operates, manages and directs its nationwide sales and business operations from its offices in

     4 California. Hansen also maintains manufacturing, storage, and distribution centers in California,

     5 from which Hansen operates and directs the majority, or at least a substantial proportion, of its

     6 nationwide sales and business operations. It is therefore believed and averred that a substantial

     7 portion of the misleading labeling and related misconduct at issue in this Complaint occurred, was

     8 conducted, and/or was directed in and emanated from California, including, but not limited to: (a)

     9 the design of the Defendants' packaging; (b) the review, approval and revision of Defendants'

 10 products and labeling; (c) the selection and integration of ingredients into the Defendants'

 11 products; (d) the distribution of the Defendants' products; and (e) the management and supervision

 12 of sales operations to Plaintiffs and the putative classes (as defined herein).

 13            5.        The true names and capacities, whether individual, corporate, associate, or

 14 whatever else, of the defendants sued herein as Does I to 50, inclusive, are currently unknown to

 15 Plaintiffs, who therefore sue these defendants by such fictitious names under Code of Civil

 16 Procedure§ 474. Plaintiffs are informed and believe and thereon allege that eachofthe

 17 defendants designated herein as Does is legally responsible in some manner for the unlawful acts

18 referred to herein. Plaintiffs will seek leave of court to amend this Complaint to reflect the true

19 names and capacities of the defendants designated herein as Does when their identities become

20 known. (As used herein, "Defendants" refers to Hansen and Does I to 50, inclusive.)

21            6.        Plaintiffs are informed and believe and thereon allege that each defendant acted in

22 all respects pertinent to this action as the agent of the other Defendants, that Defendants carried

23 out a joint scheme, business plan, or policy in all respects pertinent hereto, and that the acts of

24 each defendant are legally attributable to the other Defendants.

25            7.        Venue is proper in this judicial district pursuant to Code of Civil Procedure§ 395.5

26 because the obligations giving rise to liability occurred in part in the County of San Francisco,

27 State of California.

28 Ill
                                                          2
                                          CLASS ACTION COMPLAINT                                Exhibit A, Page 8
Case 2:14-cv-06311-MWF-PLA Document 5-1 Filed 05/13/14 Page 9 of 37 Page ID #:22


      \       '

                                                       BACKGROUND
      2               8.      Hansen deceptively labels and advertises the Misbranded Products in the following

      3 ways-all of which create the impression that the Misbranded Products are natural, healthy

     4 beverages.

     5                     Hansen Unlawfully Claims That the Misbranded Products Are Natural.

     6                9.     Hansen advertises, labels, and represents the Misbranded Products as being

     7 "Natural," "1 00% Natural," or "All Natural." These claims appear on the product labels and even

     8 in the product names of the Misbranded Products. This claim is reinforced on Hansen's website,

     9 which depicts a verdant field, trees, a blue sky, and butterflies. Some of the Misbranded Products

 10 labeled as natural also state that they are "naturally sweetened with Truvia." (See sample product

 11           labels, attached as Exh. A.)
 12                  10.     These representations are false or, at best, deceptive and misleading. Webster's
 13 New World Dictionary defines "natural" as "produced or existing in nature; not artificial or

 14 manufactured." 1 Moreover, "all" is defined as "the whole extent or quantity of. "2 Thus the

 15 combined use of ''all natural" on the labels of the Mislabeled Products indicates to the average

 16 reasonable person that "the whole extent or quantity of' the ingredients contained in the food

 17 products are "produced or existing in nature; not artificial or manufactured."
18                   11.    Although the Food and Drug Administration ("FDA") does not directly regulate the

19 term "natural," the FDA has established a policy defining the outer boundaries of the use ofthat

20 term by clarifying that a product is not natural if it contains color additives, artificial flavors, or

21        synthetic substances. 3 Specifically, the FDA states: "[T]he agency will maintain its policy (Ref.

22 32) regarding the use of 'natural,' as meaning that nothing artificial or synthetic (including all

23 color additives regardless of source) has been included in, or has been added to, a food that would

24 not normally be expected to be in the food." 58 Fed. Reg. 2302, 2407 (Jan. 6, 2003). The FDA
25 Ill
          1
26      Webster's New World Dictionary of the American Language, 2nd College Ed. (Simon & Schuster, 1984),
      "natural," definition no. 2 at p.947.
      2
27       Id., "all," definition no. 1 at p. 36.
      3
        See http://www.fda.gov/ForConsumers/ConsumerUpdates/ucm094536.htm and
28    http://www.fda.gov/AboutFDA/Transparency/Basics/ucm2 14868 .htm.

                                                              3
                                             CLASS ACTION COMPLAINT                                Exhibit A, Page 9
Case 2:14-cv-06311-MWF-PLA Document 5-1 Filed 05/13/14 Page 10 of 37 Page ID #:23


      '   '

       1 has issued numerous warning letters owing to the presence of synthetic ingredients such as

      2 ascorbic and citric acid in so-called "natural" products without proper identification.

      3                12.     This policy is consistent with consumers' understanding of the word "natural."

      4 Consumers understand "natural" to exclude synthetic ingredients, food additives, or chemical

      5 preservatives. In a 2007 survey conducted by the Natural Marketing Institute, the majority of

      6 respondents believed that the term "natural" in a product label meant that the product contained

      7 100 percent natural ingredients, no artificial flavors, no artificial colors, no preservatives, no

      8 chemicals, and a substantial percentage thought that it meant that the product was not highly

      9 processed. Moreover, 8J percent of respondents found products cla1m1ng to be "natura]"
  10 very/somewhat important when purchasing food or beverage products. And large majorities also

  11          found that products containing no preservatives, no artificial ingredients, no artificial flavors, and

  12 no artificial colors to be very/somewhat important when purchasing food and beverage products.

  13 These percentages are even larger among the health-conscious segments of the US population,

 14 which are large-approximately 40 percent. What is more, the survey found that these trends

 15 have increased from previous years, and consequently the subject labeling statements are probably

 16 far more important to consumers today. Significantly, the survey also found that package labeling

 17 was by far the most important source of information influencing consumers' purchasing decisions,

 18 especially among the health-conscious segment of the population.

 19                  13.     The labeling of products as "natural" or "all natural" (or words of similar import)

 20 carries implicit health benefits important to consumers-benefits for which consumers are willing

 21       to pay a premium over comparable products that are not so labeled and marketed. Defendants

 22 have cultivated and reinforced a corporate image based on this theme, which they have

23 emblazoned on almost all of the Misbranded Products and even use the word "natural" in the trade

24 name of certain products (e.g., sodas and juices), despite the use of synthetic ingredients in these

25 products. The presence of synthetic ingredients in the Misbranded Products renders Defendants'

26 product labels and advertising false and misleading.

27                  14.      Moreover, like the FDA, the United States Department of Agriculture ("USDA"),

28 which regulates the labeling of meat and poultry, has also set limits on the use of the term
                                                                4
                                               CLASS ACTION COMPLAINT                                 Exhibit A, Page 10
Case 2:14-cv-06311-MWF-PLA Document 5-1 Filed 05/13/14 Page 11 of 37 Page ID #:24


      I       '




                  "natural." The USDA's Food Safety and Inspection Service states that the term "natural" may be

      2 used on labeling of meat and poultry products so long as "(I) the product does not contain any

      3 artificial flavor or flavorings, color ingredient, or chemical preservative ... or any other artificial

     4 or synthetic ingredient, and (2) the product and its ingredients are not more than minimally

     5 processed."

     6                  15.    According to the USDA, "[m]inimal processing may include: (a) those traditional

     7 processes used to make food edible or to preserve it or to make it safe for human consumption,

     8 e.g., smoking, roasting, freezing, drying, and fermenting, or (b) those physical processes which do

     9 not fundamentally alter the raw product and/or which only separate a whole, intact food into

 10 component parts, e.g., grinding meat, separating eggs into albumen and yolk, and pressing fruits to

 11 produce juices."4 However, "(r]elatively severe processes, e.g., solvent extraction, acid

 12 hydrolysis, and chemical bleaching would clearly be considered more than minimal processing." 5
 13                     16.    Under USDA policy, a product cannot be labeled as being "natural" if an ingredient

 14 would significant! y change the character of the product to the point that it could no longer be

 15 considered a natural product. Moreover, any product purporting to be "natural" must
 16 conspicuously identify any synthetic ingredients used on the label (e.g., "all natural ingredients

 17 except dextrose, modified food starch, etc."). For example, a "turkey roast" cannot be called a

 18 "natural" product if it contains beet coloring but can still bear the statement "all natural ingredients

 19 modified by beet coloring." Defendants do not, however, include any such limiting language on

20 the Misbranded Products. 6
21                     17.    The terms "synthetic" and "artificial" closely resemble each other and in common

22 parlance are taken as synonymous. The scientific community defines "artificial" as something not

23 found in nature, whereas "synthetic" is defined as something man-made, whether it merely mimics

24 nature or is not found in nature. 7 In the scientific community, "synthetic" includes substances that
          4
25          See the United States Department of Agriculture Food Standards and Labeling Policy book available at
          http://www.fsis. usda.gov/OPPDE/larc/Policies/Labeling_Policy_Book_ 082005 .pdf (last visited December
26         18, 2013).
          5
             Ibid.
27        6 Ibid.
          7
            Peter E. Nielsen, Natural-synthetic-artificial!, Artificial DNA: PNA & XNA, Volume I, Issue I
28        (July/August/September 201 0), available at http://www.ncbi.nlm.nih.gov/pmc/articles/PMC31 09441/ (last
          visited December 18, 2013).
                                                               5
                                               CLASS ACTION COMPLAINT                               Exhibit A, Page 11
Case 2:14-cv-06311-MWF-PLA Document 5-1 Filed 05/13/14 Page 12 of 37 Page ID #:25



              are also "artificial," but a synthetic substance also can be artificial or non-artificial. 8 However, the

      2       common understanding of"artificial" resembles the scientific community's definition of

      3 "synthetic." Indeed Webster's New World Dictionary defines "artificial" as "anything made by

      4 human work, especially if in intimation of something natural," whereas "synthetic" is defined as
      5 "a substance that is produced by chemical synthesis and is used as a substitute for a natural
     6 substance which it resembles." 9
     7               18.     Congress has defined "synthetic" to mean "a substance that is formulated or

     8 manufactured by a chemical process or by a process that chemically changes a substance extracted
     9 from naturally occurring plant, animal, or mineral sources, except that such term shall not apply to
 10 substances created by naturally occurring biological processes." 7 U.S.C. § 6502(21). See also 7

 11 C.P.R. § 205.2 (defining, in USDA's National Organic Program regulations, a "nonsynthetic" as

 12 "a substance that is derived from mineral, plant, or animal matter and does not undergo a synthetic
 13          process as defined in section 6502(21) of the Act (7 U.S.C. § 6502(21)").

 14                 19.      The Misbranded Products are not natural because they actually contain synthetic

 15 ingredients (e.g., citric acid, ascorbic acid, phosphoric acid, tartaric acid, calcium lactate, calcium
 16 gluconate) and color additives (e.g., grape skin extract, fruit and vegetable juice). See 21 C.P.R. §

 17 101.9(c)(8)(v), 101.36(d), 101.36(e)(11)(i).
 18                 20.      Although these substances may occur naturally, the ingredients Hansen uses are

 19 chemically manufactured and highly processed-thus rendering them not natural.
20                  21.      Moreover, Truvia is not natural because its primary ingredient is erythritol, a sugar

21 alcohol usually made by processing genetically modified corn. In fact, Truvia uses only a small
22 amount of the stevia extract Rebiana A ("Reb A"), which is itself a chemically processed form of

23        stevia and hence not natural. However, the ingredient statement on the Misbranded Products

24 claiming to be "sweetened with Truvia" does not even disclose the existence of erythritol, only

25        Reb A, even though Reb A constitutes only one percent ofTruvia.

26 Ill

27 s Ibid.
         9
             See Webster's New World Dictionary of the American Language, 2nd College Ed. (Simon & Schuster,
28 1984), "artificial," definition SYN at p.79.
                                                                6
                                              CLASS ACTION COMPLAINT                                   Exhibit A, Page 12
Case 2:14-cv-06311-MWF-PLA Document 5-1 Filed 05/13/14 Page 13 of 37 Page ID #:26



                  22.      The Misbranded Products also boast that they contain a substantial percentage of

      2 vitamins and antioxidants such as vitamins C and E. These claims appear both on product labels

     3 and in advertising material. For example, Hansen's webpage for Apple Grape Juice states,

     4 "Besides great taste, there's the added benefit of naturally occurring antioxidants, as well as 120%

     5 Vitamin C. Not a drop of sugar or a speck of preservatives added."

     6            23.     Hansen misrepresents the provenance of the vitamin C and leads consumers to

     7 believe that both it and the claimed antioxidant activity in the Misbranded Products are derived

     8 from fruit and not chemical sources.

     9           24.      Further, Hansen's Diet Sodas are misbranded because although they purport to be

  10 "naturally flavored," they contain artificial flavors such as citric acid and phosphoric acid, which

 11       impart a tangy or sour taste to the sodas. These artificial flavors appear in the ingredient statement

 12 ofthe sodas before the natural flavor extracts. (See diet soda label, attached hereto as Exh. B.)

 13 Indeed the natural flavor extract almost always appears last in the ingredient statement.

 14              25.      Because the Misbranded Products contain artificial flavoring and chemical

 15 preservatives without stating this fact on the product labels, Defendants violated the California's

 16 Sherman Food, Drug, and Cosmetic Law, including California Health & Safety Code§ 110740.

 17 In this way, Defendants have also violated California Health & Safety Code § 110705 because

 18 words, statements, or other information required pursuant to the Sherman Law to appear on the

 19 label or labeling are not prominently placed upon the label or labeling with conspicuousness, as

20 compared with other words, statements, designs, or devices in the labeling and in terms as to

21       render them likely to be read and understood by the ordinary individual under customary

22 conditions of purchase and use.

23             Hansen Unlawfully Claims the Misbranded Products Contain uNo Preservatives."

24              26.      Rather than disclose the presence of chemical preservatives as required by law,

25       Defendants state the opposite through labeling statements claiming the Misbranded Products

26 contain "no preservatives." (See example product labels, attached as Exh. C.)

27              27.     The Federal Regulations require food and beverage manufacturers to disclose the

28 presence of chemical preservatives "on the food or on its container or wrapper, or on any two or

                                                           7
                                          CLASS ACTION COMPLAINT                                 Exhibit A, Page 13
Case 2:14-cv-06311-MWF-PLA Document 5-1 Filed 05/13/14 Page 14 of 37 Page ID #:27


      '   '

               all three of these, as may be necessary to render such statement likely to be read by the ordinary

       2 person under customary conditions of purchase and use of such food." 21 CFR § 10 1.22(c).

      3               28.       "The term chemical preservative means any chemical that, when added to food,

      4 tends to prevent or retard deterioration thereof, but does not include common salt, sugars,

      5 vinegars, spices, or oils extracted from spices, substances added to food by direct exposure thereof

      6 to wood smoke, or chemicals applied for their insecticidal or herbicidal properties." 21 CFR §

      7       101.22(a)(5),

      8               29.      Pursuant to 21 C.F.R. § 101.22(j), a food to which a chemical preservative(s) is

      9 added shall, except when exempt pursuant to 21 C.F .R. § 101.100 bear a label declaration stating

  10 both the common or usual name of the ingredient(s) and a separate description of its function, e.g.,

  11          "preservative," "to retard spoilage," "a mold inhibitor," "to help protect flavor," or "to promote

  12 color retention."

  13                 30.       The Misbranded Products fail to comply with the requirements of21 C.F.R. §

 14       101.22. Because many ofthe Misbranded Products have lengthy shelf-lives, they contain a

 15 number of chemical preservatives such as ascorbic acid, citric acid, and vitamin E; however, the

 16 labels of these products fail to describe the function of these chemical preservatives, thus violating

 17 the law and concealing their presence.

 18                  31.      Ascorbic acid, citric acid, and vitamin E are not types of common salt, sugar,

 19 vinegar, spice, or oil extracted from spices, nor are they substances added to food by direct

 20 exposure thereof to wood smoke, or chemicals applied for their insecticidal or herbicidal

 21       properties. As used by Defendants in their products, these chemicals prevent or retard

 22 deterioration of the products. Therefore these chemicals are "chemical preservatives" in Hansen's

 23 products, as defined in 21 C.F.R. § 101.22(a)(5), and must be disclosed and identified as such.

24                 Hansen Unlawfully Claims That the Misbranded Products Contain "100% Juice."

25                  32.       Hansen's juice products claim to be made with 100 percent juice. (See example

26 product labels, attached as Exh. D.)

27                  33.       However, this is false owing to the addition of numerous synthetic, non-juice

28 ingredients. A beverage purporting to be juice must contain a percentage juice declaration. See

                                                               8
                                              CLASS ACTION COMPLAINT                                Exhibit A, Page 14
Case 2:14-cv-06311-MWF-PLA Document 5-1 Filed 05/13/14 Page 15 of 37 Page ID #:28



            21 C.F.R. § 101 .30(a). Where non-juice ingredients result in a diminution of the juice soluble

       2 solids or a change in the volume of the product, then the 100 percent juice declaration is

      3 inappropriate. !d. at subdiv. (b)(3). Moreover, even where there is no diminution of juice soluble

      4     solids or change in volume, a 100 percent juice declaration is unlawful unless it is accompanied by

      5 the phrase "with added_," the blank being filled in with a term such as "ingredient(s),"
     6 "preservative," or "sweetener," as appropriate (e.g., "1 00% juice with added sweetener"). Ibid.
     7             34.     Because the Misbranded Products do not contain this additional language, they are

     8 mislabeled, and a reasonable consumer would be misled into believing that he or she is purchasing
     9 a product that contains 100 percent juice and nothing else.

  10             Hansen Unlawfully Claims That the Misbranded Products Contain No Added Sugar.

  11              35.      Hansen's juice products are intended to appeal to consumers who are concerned

  12 with their sugar and caloric intake. In order to target sales to this demographic Hansen claims that

  13       the misbranded juice products contain "No Sugar Added." (See example product labels, attached

 14 as Exh. E.) This claim is reinforced on Hansen's website, which states that certain products, such

 15 as Apple Raspberry Juice, are "naturally sweetened" with Truvia.

 16               36.     The Misbranded Products are mislabeled because they make the nutrient content

 17 claim "No Sugar Added" but are made from concentrated fruit juices. A manufacturer is

 18 prohibited from using the term "No Added Sugar" where the product contains concentrated fruit

 19 juice. See 21 C.F.R. § 101.60(c)(2)(ii). A product purporting to have "No Added Sugar" must

 20 also bear a statement that the food is not "low calorie" or "calorie reduced" unless the product

21        meets the requirements for making such claims. !d. at subdiv. !d. at subdiv: (c)(2)(v). These

22 products do not qualify as low-calorie foods because they provide more than 40 calories per

23        reference amount customarily consumed. See 21 C.F.R. § 101.60(b)(2). However, the

24        Misbranded Products do not carry the required disclaimer, nor do they, as required "direct[]

25       consumers' attention to the nutrition panel for further information on sugar and calorie content."

26 21 C.F.R. § 101.60(c)(2)(v).

27               37.     Because consumers may reasonably be expected to regard terms that represent that

28 a product contains "no sugar added" as indicating a product which is low in calories or

                                                           9
                                          CLASS ACTION COMPLAINT                                Exhibit A, Page 15
Case 2:14-cv-06311-MWF-PLA Document 5-1 Filed 05/13/14 Page 16 of 37 Page ID #:29



               significantly reduced in calories, consumers are misled when foods that are not low-calorie as a

      2 matter of law are falsely represented through the use of phrases like "no sugar added" which they
      3 are not allowed to bear owing to high calorie levels and absence of mandated disclaimer or

      4 disclosure requirements.
      5                     Hansen Unlawfully Misbrands the Products Made from Concentrate.

      6               38.     Hansen's juice products are misbranded because they do not comply with

     7 regulations governing juices made from concentrate. See 21 C.F.R. § 1 02.33(g)(l ). These
     8 regulations require the name of a beverage that is made from concentrate to include a term
     9 indicating that fact, such as "from concentrate" or "reconstituted." Ibid. The regulations further
 I 0 provide that "such terms must be included in the name of each individual juice or ... once
 II adjacent to the product name so that it applies to all the juices." Ibid. Further, "[t]he term shall be
 I2 in a type size no less than one-half the height of the letters in the name of the juice."
 I3                  39.      Hansen's juice products are misbranded because although the labels include a

 I4 statement that the juice is from concentrate, in many instances this statement is small, less than
 I5 one-half the height of the letters in the name of the juice, and purposely positioned to mislead the
 I6 average consumer, which again violates California law. See California Health & Safety Code §
 I7 110705. (See example product labels, attached as Exh. F.)
 I8                Hansen Unlawfully Claims the Misbranded Products Are usweetened with Splenda."

 19                 40.      Hansen's Diet Sodas claim to be sweetened with Splenda, an artificial sweetener

20 purportedly derived from sugar, and the front labels often show a Splenda logo. (See example

21 product labels, attached as Exh. G.)

22                  41.      This claim is deceptive because these products lead consumers to believe they are

23 sweetened only or primarily with Splenda when in fact they are also sweetened with acesulfame

24 potassium, a different artificial sweetener that has been linked to medical conditions such as
25 impaired cognitive function and is therefore avoided by many consumers. 10

26 Ill
          10
27        See Cong, et al. "Long-Term Artificial Sweetener Acesulfame Potassium Treatment Alters
       Neurometabolic Functions in C57BL/6J Mice," PLoS ONE, Aug. 7, 2013, available at
28     http://www .plosone.org/article/info%3Adoi%2F 10. 13 71 %2Fjoumal.pone.0070257 Center for Science in
       the Public Interest, http://www.cspinet.org/reports/asekquot.html
                                                             10
                                              CLASS ACTION COMPLAINT                               Exhibit A, Page 16
Case 2:14-cv-06311-MWF-PLA Document 5-1 Filed 05/13/14 Page 17 of 37 Page ID #:30



      1         42.      The statement "Sweetened with Splenda" is rendered additionally deceptive
      2 because the ingredient statements disclose that acesulfame potassium is often the primary

      3 sweetener in these products, with Splenda being secondary.

      4                       Hansen Unlawfully Fortifies the Misbranded Products.

     5          43.      Hansen claims that many of the Misbranded Products such as its Blue Sky sodas

     6 contain vitamins and antioxidants including ascorbic acid (synthetic vitamin C), beta carotene

     7 (synthetic vitamin A), and tocopherols (synthetic vitamin E). However, these vitamins and

     8 antioxidants are not naturally occurring; rather, Hansen fortifies these products with synthetic

     9 vitamins and antioxidants. (See example product labels, attached as Exh. H.)
  10           44.      This is improper. "The Food and Drug Administration does not encourage
  11 indiscriminate addition of nutrients to foods, nor does it consider it appropriate to fortify ... snack
 12 foods such as candies and carbonated beverages." 21 CFR § 104.20(a). A nutrient cannot be

 13 added to a food or beverage unless it is physiologically available from the food. !d. at subdiv. (g).
 14 A manufacturer may not make false or misleading statements regarding the addition of vitamins or

 15 minerals. ld. at subdiv. (h).

 16            45.     Hansen violates federal labeling law by fortifying snack foods and carbonated

 17 beverages with vitamins and antioxidants. What is more, vitamins such as vitamins A and E are

 18 not physiologically available when added to beverages because they are fat soluble, meaning that

 19 they cannot be absorbed by the body in the absence of fat, which the Misbranded Products do not
20 contain.

21            46.      Moreover, Hansen deceptively represents that these sodas contain naturally

22 occurring vitamins and antioxidants through the depiction on product labels of images of fruits

23 such as raspberries and grapes with well-known antioxidant activity and vitamin content when in

24 fact the Misbranded Products contain added vitamins and antioxidants.
25                                   Allegations as to the Named Plaintiffs

26            47.     Plaintiffs are and, throughout the entire class period, were residents of the State of

27 California. Plaintiffs are concerned about and try to avoid consuming foods that are not natural,
28 such as products containing synthetic, artificial or chemical ingredients, as well as products that
                                                        11
                                        CLASS ACTION COMPLAINT                                 Exhibit A, Page 17
Case 2:14-cv-06311-MWF-PLA Document 5-1 Filed 05/13/14 Page 18 of 37 Page ID #:31




           are high in sugar. For this reason, Plaintiffs are willing to pay and have paid a premium for foods

      2 that are natural and have endeavored to refrain from buying equivalent foods .which are not natural

      3 and which do contain synthetic, artificial, or chemical ingredients and are high in sugar.

     4            48.     During the class period Plaintiff OSIE MARSHALL purchased, among other

     5 products, multiple Hansen's Soda and Diet Sodas, Hansen's Blue Sky Soda, Hansen's juice,

     6 Hansen's and Junior Juice and Juice Boxes, and Hubert's Lemonade from various markets

     7 throughout California.

     8            49.    Plaintiff YASNA CUEVAS purchased, among other products, Hansen's Soda, Diet

     9 Soda, and Blue Sky Soda products, Angeleno Aguas Frescas, Hansen's Peace Tea, Hansen's

 10 Smoothie Nectar drinks, Hansen's Vidration, and Hansen's energy drinks from stores throughout

 11       California during the class period.

 12              50.     Plaintiff JOHN VANES purchased, among other products, Hansen's juice and

 13 Juice Box Products, Hansen's Sodas and Diet Sodas, Hubert's Lemonade products, and Hansen's

 14 tea and fruit stix from stores throughout California during the class period.

 15              51.    Before buying Hansen's products, Plaintiffs saw pictures of fruit on the product

 16 labels and read statements that these products were "Natural," "100% Natural," "All Natural,"

 17 "naturally flavored," "naturally sweetened with Truvia," "GMO Free," and contained "No

 18 Preservatives," "1 00% juice," and specified antioxidants and vitamins, and Plaintiffs relied on

19 these representations in deciding to buy the products. Plaintiffs understood these representations

20 as meaning there was nothing artificial, synthetic, or chemically fabricated in the products, that

21       they did not contain preservatives, and that the antioxidants were derived from natural sources

22 (such as fruits) and were physiologically available when ingested.

23              52.     Consistent with this understanding, Plaintiffs did not see the small statements on

24 some of the product labels that the juices came from concentrate. Plaintiffs also read the "no sugar

25       added" statement on the products and believed that these were lower calorie or reduced-calorie

26 drinks and/or were not sweetened using concentrated fruit juice (or other sweeteners) and/or were

27 drawn to the products because of this label. Plaintiffs relied on this front-of-the-package

28 ///

                                                          12
                                          CLASS ACTION COMPLAINT                                Exhibit A, Page 18
Case 2:14-cv-06311-MWF-PLA Document 5-1 Filed 05/13/14 Page 19 of 37 Page ID #:32



            representation and did not scrutinize the nutrition panel for information on sugar and caloric

       2 content.

      3            53.     Moreover, Plaintiffs believed that sodas fortified with antioxidants and vitamins

      4 were healthier for themselves and their families because the vitamins and antioxidants were

      5 naturally occurring and could represent a source of the specified vitamins and antioxidants needed
      6 in their diets.

      7            54.     Finally, Plaintiffs relied on label representations that Hansen's Diet Soda was

      8 sweetened with Splenda, which they preferred to other sweeteners because they believed that it

      9 was derived from sugar.

  10               55.    Plaintiffs not only purchased these products because of the identified

  11       representations but also paid more money than they would have had to pay for other similar

  12 products that did not make similar representations. Indeed, had Plaintiffs known that Defendants'

  13       representations were false or deceptive, they would not have purchased these products but would

  14 have purchased brands that accurately represented the product or, if these were not available,

  15 would have purchased less expensive products that did not make such representations. In this

  16 way, Plaintiffs did not receive the products they had bargained for and have lost money as a result

  17 in the form of paying money to Defendants and paying a premium for Defendants' products owing

  18 to the misrepresentations.

 19               56.     On or around September 13, 2013, Plaintiffs sent a letter to Hansen informing it

 20 that it has engaged in unfair methods of competition and/or deceptive acts or practices, including

 21       but not limited to violation of California Civil Code § 1770, in connection with the sale of the

 22 Misbranded Products, and requested that it correct, repair, replace, or otherwise rectify its

 23       unlawful conduct. Hansen ultimately declined to correct, repair, replace, or otherwise rectify its

 24 unlawful conduct. Because more than 30 days have elapsed since the receipt of Plaintiffs' letter,

 25       Plaintiffs herein seek actual, punitive, and statutory damages as appropriate on behalf of

 26 themselves and similarly situated consumers, as well as equitable including injunctive relief.

 27 Ill
28 Ill
                                                           13
                                           CLASS ACTION COMPLAINT                               Exhibit A, Page 19
Case 2:14-cv-06311-MWF-PLA Document 5-1 Filed 05/13/14 Page 20 of 37 Page ID #:33



       1                                             CLASS ALLEGATIONS

       2               57.     Plaintiffs bring this action on behalf of themselves and those similarly situated as a

       3 class action pursuant to Code of Civil Procedure § 382. Plaintiffs seek to represent the following

      4 classes: All persons in the United States or, alternatively, California who purchased one or more

      5 of the Misbranded Products from four years prior to the filing of the Complaint and continuing to

      6 the present.

      7            58.        The class excludes counsel representing the class, governmental entities,

      8 Defendants, any entity in which Defendants have a controlling interest, Defendants' officers,

      9 directors, affiliates, legal representatives, employees, co-conspirators, successors, subsidiaries, and

  10 assigns, any judicial officer presiding over this matter, the members of their immediate families
  11       and judicial staff, and any individual whose interests are antagonistic to other putative class

  12 members.

  13               59.        Plaintiffs reserve the right under California Rule of Court 3. 765 to amend or

  14 modify the class description with greater particularity or further division into subclasses or

 15 limitation to particular issues.

 16               60.        This action has been brought and may properly be maintained as a class action

 17 under the provisions of Code of Civil Procedure § 382 because there is a well-defined community

 18 of interest in the litigation and the class is easily ascertainable.

 19               A.         Numerosity

 20               61.         The potential members of the class as defined are so numerous that joinder of all

 21        members ofthe class is impracticable. Although the precise number of putative class members

 22 has not been determined at this time, Plaintiffs are informed and believe that the proposed classes

 23 include thousands of members.

 24               B.         Commonality

25                62.        There are questions of law and fact common to the class that predominate over any

26 questions affecting only individual putative class members. These common questions of law and

27 fact include:
28
                                                               14
                                               CLASS ACTION COMPLAINT                                Exhibit A, Page 20
Case 2:14-cv-06311-MWF-PLA Document 5-1 Filed 05/13/14 Page 21 of 37 Page ID #:34



                   a.     Whether Defendants' conduct was a "fraudulent practice" within the meaning of

  2                       the Unfair Competition Law ("UCL"), Business & Professions Code § 17200, in

  3                       that it was likely to mislead consumers;

  4                b.     Whether Defendants' conduct was an "unfair practice" within the meaning of the

  5                       UCL in that it offended established public policy and is immoral, unethical,

  6                       oppressive, unscrupulous or substantially injurious to consumers;

  7                c.     Whether Defendants' conduct was an "unlawful" practice within the meaning of

  8                       the UCL;

  9                d.     Whether Defendants' conduct was likely to deceive a consumer acting reasonably

 IO                       in the same circumstances;

 II                e.     Whether Defendants advertise or market the Misbranded Products in a way that is

 I2                       false or misleading;

 I3                f.     Whether Defendants violated California Business and Professions Code

 14                       § 17500 et seq.;

 15                g.     Whether Defendants violated California Civil Code§ 1750 et seq.;

 16                h.     Whether Plaintiffs and members of the putative class are entitled to restitution,

 I7                       injunctive, declaratory and/or other equitable relief;

 I8                1.     Whether Defendants have been unjustly enriched through the misrepresentations

 19                       alleged herein; and
 20                J.     Whether Plaintiffs and the members of the class sustained monetary loss.

 2I          C.          Adequacy of Representation
 22          63.        Plaintiffs will fairly and adequately represent and protect the interests of the class.

 23   Counsel who represent Plaintiffs and putative class members are experienced and competent in

 24 litigating class actions.

 25          D.          Superiority of Class Action

 26          64.         A class action is superior to other available means for the fair and efficient

 27 adjudication of this controversy. Individual joinder of putative class members is not practicable,

 28   and questions of law and fact common to putative class members predominate over any questions

                                                            15
                                             CLASS ACTION COMPLAINT                               Exhibit A, Page 21
Case 2:14-cv-06311-MWF-PLA Document 5-1 Filed 05/13/14 Page 22 of 37 Page ID #:35




            affecting only individual putative class members. Each putative class member has been damaged

      2 and is entitled to recovery by reason of Defendants' illegal policies or practices of failing to

      3 compensate putative class members properly.

      4            65.    Class action treatment will allow those persons similarly situated to litigate their

      5 claims in the manner that is most efficient and economical for the parties and the judicial system.

      6 Plaintiffs are unaware of any difficulties in managing this case that should preclude class action.

      7                                       FIRST CAUSE OF ACTION

      8                               Unlawful Business Practices in Violation of

      9                             Business and Professions Code § 17200, et seq.

  10              66.     Plaintiffs incorporate by reference each allegation set forth above.

 11               67.     Defendants' conduct constitutes unlawful business acts and practices under

 12 Business & Professions Code § 17200, et seq.

 13               68.    Defendants sold Misbranded Products in California and throughout the United

 14 States during the class period.

 15               69.    Defendant Hansen is a corporation and, therefore, is a "person" within the meaning

 16 ofthe Sherman Food Drug & Cosmetic Law, California Health & Safety Code § 109875, et seq.

 17 (the "Sherman Law"). The Sherman Law adopts, incorporates and is identical to the federal Food,

 18 Drug & Cosmetic Act, 21 U.S.C. § 301 et seq. ("FDCA").

 19              70.     Defendants' business practices are unlawful under § 17200, et seq., by virtue of

 20       Defendants' violations of the advertising provisions of Article 3 of the Sherman Law and the

21        misbranded food provisions of Article 6 of the Sherman Law.

22               71.     Defendants' business practices are unlawful under Business & Professions Code§

23        17200, et seq. by virtue of Defendants' violations of§ 17500, et seq., which forbids untrue and

24 misleading advertising.

25               72.     Defendants' business practices are unlawful under Business & Professions Code §

26        17200, et seq. by virtue of Defendants' violations of the Consumers Legal Remedies Act, Cal.

27 Civ. Code § 1750, et seq.

28 Ill

                                                           16
                                           CLASS ACTION COMPLAINT                                Exhibit A, Page 22
Case 2:14-cv-06311-MWF-PLA Document 5-1 Filed 05/13/14 Page 23 of 37 Page ID #:36



             73.     Under California law, a food product that is misbranded cannot legally be

  2 manufactured, advertised, distributed, held or sold. Misbranded products cannot be legally sold,

  3 possessed, have no economic value, and are legally worthless. Indeed the sale, purchase or

  4 possession of misbranded food is a criminal act in California and the FDA even threatens food

  5 companies with seizure of misbranded products.
  6          74.     Defendants sold Plaintiffs and members of the putative class Misbranded Products

  7 that were not capable of being sold or legally held and which had no economic value and were

  8 legally worthless. Plaintiffs and each putative class member paid a premium price for the

  9 Misbranded Products.

             75.     As a result of Defendants' illegal business practices, Plaintiffs and the members of
 10
 11   the putative class are entitled to an order enjoining such future conduct and such other orders and

 12 judgments which may be necessary to disgorge Defendants' ill-gotten gains and to restore to any

 13 putative class member any money paid for the Misbranded Products.

 14          76.     Defendants' unlawful business acts present a threat and reasonable continued

 15   likelihood of injury to Plaintiffs and each member of the putative class.

 16                                    SECOND CAUSE OF ACTION

 17                               Unfair Business Practices in Violation of

 18                             Business & Professions Code § 17200, et seq.

 19          77.     Plaintiffs incorporate by reference each allegation set forth above.

                     The UCL defines unfair business competition to include any "unlawful, unfair or
 20          78.
 21   fraudulent" act or practice, as well as any "unfair, deceptive, untrue or misleading" advertising.

 22   Cal. Bus. & Prof. Code § 17200.
 23          79.     A business act or practice is "unfair" under the UCL if the reasons, justifications,

 24 and motives of the alleged wrongdoer are outweighed by the gravity ofthe harm to the alleged

 25   victims.

 26          80.     Defendants' conduct as set forth herein constitutes unfair business acts and

 27 practices.

 28 ///
                                                        17
                                        CLASS ACTION COMPLAINT                              Exhibit A, Page 23
Case 2:14-cv-06311-MWF-PLA Document 5-1 Filed 05/13/14 Page 24 of 37 Page ID #:37


      .       '

          1         81.    Defendants sold Misbranded Products in California and throughout the United

       2 States during the class period.

       3           82.     Plaintiffs and the members of the putative class suffered a substantial injury by

      4 virtue of buying Defendants' Misbranded Products, which they would not have purchased absent

      5 Defendants' illegal conduct.

      6            83.     Defendants' deceptive marketing, advertising, packaging and labeling of their

      7 Misbranded Products and their sale of unsalable misbranded products that were illegal to possess

      8 were of no benefit to consumers, and the harm to consumers and competition is substantial.

      9            84.     Defendants sold Plaintiffs and the members ofthe putative class Misbranded

  I 0 Products that were not capable of being legally sold or held and that had no economic value and

  11 were legally worthless. Plaintiffs and the members of the putative class paid a premium price for

  12 the Misbranded Products.

  13              85.     Plaintiffs and the members of the putative class who purchased Defendants'

  14 Misbranded Products had no way of reasonably knowing that the products were misbranded and

  15 were not properly marketed, advertised, packaged and labeled, and thus could not have reasonably

 16 avoided the injury each of them suffered.

 17               86.     The consequences of Defendants' conduct as set forth herein outweigh any

 18 justification, motive or reason therefor. Defendants' conduct is and continues to be unlawful,

 19 unscrupulous and contrary to public policy, and is substantially injurious to Plaintiffs and the

 20 members ofthe putative class.

 21               87.     As a result of Defendants' conduct, Plaintiffs and the members of the putative

 22 class, pursuant to Business and Professions Code § 17203, are entitled to an order enjoining such

 23 future conduct by Defendants, and such other orders and judgments which may be necessary to

 24 disgorge Defendants' ill-gotten gains and restore any money paid for Defendants' Misbranded

25 Products by Plaintiffs and the members of the putative class.
26 Ill

27 Ill
28 Ill

                                                           18
                                           CLASS ACTION COMPLAINT                                Exhibit A, Page 24
Case 2:14-cv-06311-MWF-PLA Document 5-1 Filed 05/13/14 Page 25 of 37 Page ID #:38



                                               THIRD CAUSE OF ACTION

      2                               Fraudulent Business Practices in Violation of

      3                              Business and Professions Code § 17200, et seq.

      4            88.     Plaintiffs incorporate by reference each allegation set forth above.

      5            89.     Defendants' conduct as set forth herein constitutes fraudulent business practices

      6 under California Business and Professions Code sections § 17200, et seq.

      7            90.     Defendants sold Misbranded Products in California and throughout the United

      8 States during the class period.

      9            91.    Defendants' misleading marketing, advertising, packaging, and labeling of the

  10 Misbranded Products and misrepresentation that the products were capable of sale, capable of

 11 possession, and not misbranded were likely to deceive reasonable consumers, and in fact Plaintiffs
 12 and the members ofthe putative class were deceived.

 13               92.     Defendants' fraud and deception caused Plaintiffs and the members of the putative

 14 class to purchase Misbranded Products that they would otherwise not have purchased had they
 15 known the true nature of those products.

 16               93.     Defendants sold Plaintiffs and the members of the putative class Misbranded

 17 Products that were not capable of being sold or legally held and that had no economic value and

 18       were legally worthless. Plaintiffs and the members of the putative class paid a premium price for

 19 the Misbranded Products.
 20              94.     As a result of Defendants' conduct as set forth herein, Plaintiffs and each member

21        of the putative class, pursuant to Business and Professions Code § 17203, are entitled to an order

22 enjoining such future conduct by Defendants, and such other orders and judgments which may be

23        necessary to disgorge Defendants' ill-gotten gains and restore any money paid for Defendants'

24        Misbranded Products by Plaintiffs and the members ofthe putative class.

25                                         FOURTH CAUSE OF ACTION

26                                      Misleading Advertising in Violation of

27                                 Business and Professions Code § 17500, et seq.

28              95.      Plaintiffs incorporate by reference each allegation set forth above.

                                                           19
                                           CLASS ACTION COMPLAINT                                 Exhibit A, Page 25
Case 2:14-cv-06311-MWF-PLA Document 5-1 Filed 05/13/14 Page 26 of 37 Page ID #:39



                96.     Plaintiffs assert this cause of action for violations of California Business and

      2 Professions Code § 17500, et seq., for misleading and deceptive advertising against Defendants.

      3         97.     Defendants sold Misbranded Products in California and throughout the United

      4 States during the class period. Defendants engaged in a scheme of offering the Misbranded

     5 Products for sale to Plaintiffs and the members of the putative class by way of, inter alia, product

     6 packaging and labeling, and other promotional materials. These materials misrepresented and/or
     7 omitted the true contents and nature of Defendants' Misbranded Products.

     8          98.    Defendants' advertisements and inducements were made within California and

     9 throughout the United States and come within the definition of advertising as contained in

 10 Business and Professions Code §17500, et seq., in that such product packaging and labeling, and
                                                                                                                    /
 11 promotional materials were intended as inducements to purchase Defendants' Misbranded Food

 12 Products and are statements disseminated by Defendants to Plaintiffs and the members of the
 13 putative class that were intended to reach the members of the putative class. Defendants knew, or

 14 in the exercise of reasonable care should have known, that these statements were misleading and

 15 deceptive as set forth herein.
 16            99.    In furtherance of its plan and scheme, Defendants prepared and distributed within
 I 7 California and nationwide via product packaging and labeling, and other promotional materials,

 18 statements that misleadingly and deceptively represented the composition and the nature of

 19 Defendants' Misbranded Products. Plaintiffs and members of the putative class necessarily and

20 reasonably relied on Defendants' material and were the intended targets of such representations.

21             100.   Defendants' conduct in disseminating misleading and deceptive statements in

22 California and nationwide to Plaintiffs and the members of the putative class was and is likely to

23 deceive reasonable consumers by obfuscating the true composition and nature of Defendants'

24 Misbranded Products, in violation of the "misleading prong" of California Business and

25 Professions Code § 17500, et seq.

26            101.    As a result of Defendants' violations of the "misleading prong" of California

27 Business and Professions Code § 17500, et seq., Defendants have been unjustly enriched at the

28 expense of Plaintiffs and the members of the putative class. Misbranded products cannot be
                                                   20
                                        CLASS ACTION COMPLAINT                                 Exhibit A, Page 26
Case 2:14-cv-06311-MWF-PLA Document 5-1 Filed 05/13/14 Page 27 of 37 Page ID #:40




            legally sold or held and have no economic value and are legally worthless. Plaintiffs and the

       2 members of each Class paid a premium price for the Misbranded Products.

      3             I 02.     Plaintiffs and the members of the putative class, pursuant to Business and

      4     Professions Code § I 7535, are entitled to an order enjoining such future conduct by Defendants,

      5 and such other orders and judgments which may be necessary to disgorge Defendants' ill-gotten

      6 gains and restore any money paid for Defendants' Misbranded Food Products by Plaintiffs and the

      7 members of the putative class.

      8                                         FIFTH CAUSE OF ACTION

      9                                      Untrue Advertising in Violation of

  10                                  Business and Professions Code § 17500, et seq.

  11               I 03.     Plaintiffs incorporate by reference each allegation set forth above.

  12               104.      Plaintiffs assert this cause of action against Defendant for violations of California

  13       Business and Professions Code § 17500, et seq., regarding untrue advertising. Defendants sold

 14 Misbranded Products in California and throughout the United States during the class period.

 15               I 05.     Defendants engaged in a scheme of offering Defendants' Misbranded Products for

 16 sale to Plaintiffs and the members of the putative class by way of product packaging and labeling,

 17 and other promotional materials. These materials misrepresented and/or omitted the true contents

 18 and nature of Defendants' Misbranded Products. Defendants' advertisements and inducements

 19 were made in California and throughout the United States and come within the definition of

 20 advertising as contained in Business and Professions Code§ I 7500, et seq., in that the product

 21       packaging, labeling, and promotional materials were intended as inducements to purchase

 22 Defendants' Misbranded Product and are statements disseminated by Defendants to Plaintiffs and

 23       the members of the putative class. Defendants knew, or in the exercise of reasonable care should

24 have known, that these statements were untrue.

25               I 06.      In furtherance of its plan and scheme, Defendants prepared and distributed in

26 California and nationwide via product packaging and labeling, and other promotional materials,

27 statements that falsely advertise the composition of Defendants' Misbranded Products, and falsely

28 misrepresented the nature of those products. Plaintiffs and the members of the putative class were

                                                             2I
                                             CLASS ACTION COMPLAINT                                 Exhibit A, Page 27
Case 2:14-cv-06311-MWF-PLA Document 5-1 Filed 05/13/14 Page 28 of 37 Page ID #:41




            the intended targets of such representations and would reasonably be deceived by Defendants'

       2 materials.

      3             107.     Defendants' conduct in disseminating untrue advertising throughout California

      4     deceived Plaintiffs and the members of the putative class by obfuscating the contents, nature, and

      5 quality of Defendants' Misbranded Products, in violation of the "untrue prong" of California

      6 Business and Professions Code § 17500.

      7            108.      As a result of Defendants' violations of the "untrue prong" of California Business

      8 and Professions Code§ 17500, et seq., Defendants have been unjustly enriched at the expense of

      9 Plaintiffs and the members of the putative class. Misbranded products cannot be legally sold or

  10 held and have no economic value and are legally worthless. Plaintiffs and the members of the

  11       putative class paid a premium price for the Misbranded Products.

 12                109.     Plaintiffs and the members of the putative class, pursuant to Business and

 13        Professions Code§ 17535, are entitled to an order enjoining such future conduct by Defendants,

 14 and such other orders and judgments which may be necessary to disgorge Defendants' ill-gotten

 15        gains and restore any money paid for Defendants' Misbranded Food Products by Plaintiffs and the

 16 members of the putative class.

 17                                           SIXTH CAUSE OF ACTION

 18                                 Violation of the Consumers Legal Remedies Act,

 19                                       California Civil Code §§ 1750, et seq.

 20               110.     Plaintiffs incorporate by reference each allegation set forth above.

 21               111.     This cause of action is brought pursuant to the Consumers Legal Remedies Act,

22 California Civil Code §§ 1750, et seq. (the "CLRA").

23               112.      Plaintiffs and each member of the putative class are "consumers" within the

24 meaning of Civil Code§ 1761(d).

25               113.      The purchases ofthe Defendants' Misbranded Products by consumers constitute

26 "transactions" within the meaning of Civil Code § 1761 (e), and the Misbranded Products offered

27        by Defendants constitute "goods" within the meaning of Civil Code§ 1761(a).

28 Ill

                                                            22
                                            CLASS ACTION COMPLAINT                                Exhibit A, Page 28
Case 2:14-cv-06311-MWF-PLA Document 5-1 Filed 05/13/14 Page 29 of 37 Page ID #:42




                   114.         Defendants have violated, and continue to violate, the CLRA in at least the

      2 following respects:

      3                  a.      In violation of Civil Code § 1770(a)(5), Defendants represented that the

      4                          Misbranded Products had characteristics which they did not have;

      5                  b.      In violation of Civil Code § 1770(a)(7), Defendants represented that the

      6                          Misbranded Products were of a particular standard, quality, or grade, of which

      7                          they were not; and

     8                   c.      In violation of Civil Code § 1770(a)(9), Defendants advertised the Misbranded

     9                           Products with the intent not to provide what it advertised.

 10               115.          As a direct and proximate cause ofDefendants' violation ofthe CLRA as alleged

 11 hereinabove, Plaintiffs and members of the putative class have suffered damages, including but
 12 not limited to inducing them to purchase the Misbranded Products and pay a premium therefor

 13 where such products did not conform to Defendants' representations, thereby causing Plaintiffs

 14 and putative class members to incur a pecuniary loss.

 15               116.        Pursuant to California Civil Code § 1780, Plaintiffs, on behalf of themselves and

 16 the putative class, seek damages, restitution, injunctive relief, punitive damages, attorneys' fees,

 17 and the costs of litigation.

 18                                            SEVENTH CAUSE OF ACTION

 19                               Restitution Based on Quasi-Contract!Unjust Enrichment

20               117.         Plaintiffs incorporate by reference each allegation set forth above.

21               118.         Defendants' conduct in enticing Plaintiffs and putative class members to purchase

22 the Misbranded Products through their false and misleading advertising and packaging as

23        described throughout this Complaint is unlawful because the statements contained on Defendants'

24 product labels are untrue.

25               119.         Defendants' took monies from Plaintiffs and members of the putative class for

26 products that purported to comply with the representations set forth above, even though the

27 Misbranded Products did not conform to these representations.

28 Ill

                                                               23
                                               CLASS ACTION COMPLAINT                                Exhibit A, Page 29
Case 2:14-cv-06311-MWF-PLA Document 5-1 Filed 05/13/14 Page 30 of 37 Page ID #:43



             120.    Defendants have been unjustly enriched at the expense of Plaintiffs and the putative

  2 class as result of Defendants' unlawful conduct alleged herein, thereby creating a quasi-

  3 contractual obligation on Defendants to restore these ill-gotten gains to Plaintiffs and putative

  4 class members.
  5          121.    As a direct and proximate result of Defendants' unjust enrichment, Plaintiffs and

  6 putative class members are entitled to restitution or restitutionary disgorgement, in an amount to

  7 be proved at trial.
  8                                        PRAYER FOR RELIEF

  9          WHEREFORE, Plaintiffs, on behalf of themselves and on behalf of the other members of

 10 the putative class, pray as follows:
 11          A.      For an order certifying that this action is properly brought and may be maintained

 12 as a class action, that Plaintiffs be appointed the Class Representatives, and that Plaintiffs' counsel

 13 be appointed counsel for the class;
 14          B.      For restitution in such amount that Plaintiffs and all putative class members paid to

 15 purchase the Misbranded Products, or the premiums paid therefor on account of the

 16 misrepresentation as alleged above, or restitutio nary disgorgement of the profits Defendants have

 17 obtained from those transactions;

 18          c.      For compensatory damages for causes of action for which they are available;

 19          D.      For statutory damages allowable under Civil Code § 1780;

 20          E.      For punitive damages for causes of action for which they are available;

 21          F.      For a declaration and order enjoining Defendants from advertising their products

 22 misleadingly in violation of California's Sherman Food, Drug, and Cosmetic Law, and other

 23 applicable laws and regulations as specified in this Complaint;

 24          G.      For an order awarding reasonable attorneys' fees and the costs of suit herein;

 25          H.      For an award of pre- and post-judgment interest;

 26          I.      For an order requiring an accounting for, and imposition of, a constructive trust

 27 upon all monies received by Defendants' as a result of the unfair, misleading, fraudulent and

 28 unlawful conduct alleged herein; and
                                                        24
                                        CLASS ACTION COMPLAINT                              Exhibit A, Page 30
Case 2:14-cv-06311-MWF-PLA Document 5-1 Filed 05/13/14 Page 31 of 37 Page ID #:44




          J.   Such other and further relief as may be deemed necessary or appropriate.

  2                                                  Respectfully submitted,

  3 DATED:     April 1, 2014                         COUNSELONE, PC

  4
  5                                             By~tr.~---
  6                                                  Attorneys for Plaintiffs and the Putative Class

  7
  8
  9
 10
 11
 12

 13
 14
 15
 16

 17
 18
 19
 20
 21

 22

 23

 24

 25
 26
 27
 28
                                                25
                                 CLASS ACTION COMPLAINT                               Exhibit A, Page 31
Case 2:14-cv-06311-MWF-PLA Document 5-1 Filed 05/13/14 Page 32 of 37 Page ID #:45



  1                                          JURY DEMAND

  2        Plaintiffs hereby demand a jury trial on all issues so triable.

  3 DATED:        April 1, 2014                            COUNSELONE, PC

  4
  5
  6
  7
  8
  9
 10

 11
 12

 13

 14

 15
 16

 17
 18
 19
 20

 21

 22

 23
 24
 25
 26
 27
 28
                                                      26
                                      CLASS ACTION COMPLAINT                 Exhibit A, Page 32
    Case 2:14-cv-06311-MWF-PLA Document 5-1 Filed 05/13/14 Page 33 of 37 Page ID #:46


'     '




                  EXHIBIT A
                                                                       Exhibit A, Page 33
Case 2:14-cv-06311-MWF-PLA Document 5-1 Filed 05/13/14 Page 34 of 37 Page ID #:47




                                   lE
                        ! .I   iillkWI:~','




                                                                   Exhibit A, Page 34
Case 2:14-cv-06311-MWF-PLA Document 5-1 Filed 05/13/14 Page 35 of 37 Page ID #:48



                                 l EM 0 N A Ol.·




                                                                   Exhibit A, Page 35
Case 2:14-cv-06311-MWF-PLA Document 5-1 Filed 05/13/14 Page 36 of 37 Page ID #:49


   '   ~.   1




                EXHIBIT B
                                                                   Exhibit A, Page 36
Case 2:14-cv-06311-MWF-PLA Document 5-1 Filed 05/13/14 Page 37 of 37 Page ID #:50




                                                                   Exhibit A, Page 37
